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                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

  ROBIN LATORRE, PATRICIA
  ANDERSON, and ARKENDIA                        Case No. 2:19-CV-11100
  WILLIAMS individually and on behalf
  of a class of similarly situated
  individuals,
                                              Judge Linda V. Parker
                  Plaintiffs,
           v.                                 Magistrate Judge Elizabeth A.
                                              Stafford
  GENERAL MOTORS LLC, a
  Delaware limited liability company,

                  Defendant.



                        STIPULATION OF DISMISSAL

      Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiffs Robin

LaTorre (“Ms. LaTorre”), Patricia Anderson (“Ms. Anderson”), and Arkendia

Williams (“Ms. Williams”) (collectively, the “Plaintiffs”), and Defendant General

Motors LLC (“GM”) (collectively, the “Parties”) hereby stipulate to the entry of the

proposed Stipulated Dismissal Order, attached as Exhibit A, dismissing with

prejudice any and all individual claims raised or that could have been raised by

Plaintiffs in the above-captioned action and dismissing without prejudice any and all

class claims raised or that could have been raised in the above-captioned action, with

each party to bear its or their own fees, expenses, and costs.



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Dated: 10/31/2019

/s/ E. Powell Miller_________        /s/ Jerome A. Murphy (with consent)
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